                Case 1:08-cr-00232-LJO Document 399 Filed 01/08/14 Page 1 of 1


                               UNITED STATES DISTRICT COURT

                               EASTERN DISTRICT OF CALIFORNIA




UNITED STATES OF AMERICA,                                    1: 08-CR-0232 LJO

                  Plaintiff,
                                                             DETENTION ORDER
       v.                                                    (Violation of Supervised Release)

AARON MULDREW,

                  Defendant.



       The defendant having been arrested for alleged violation(s) of the terms and conditions of
supervised release; and
       Having conducted a detention hearing pursuant to Federal Rule of Criminal Procedure 32.l(a)(6)
and 18 U.S.C. § 3143(a), the Court orders the above-named defendant detained and finds that:
   x     The defendant has not met defendant’s burden of establishing by clear and convincing evidence
that defendant is not likely to flee; and/or

   X     The defendant has not met defendant’s burden of establishing by clear and convincing evidence
that defendant is not likely to pose a danger to the safety of any other person or the community if
released under 18 U.S.C. § 3142(b) or (c).
       This finding is based on the reasons stated on the record.


IT IS SO ORDERED.

   Dated:    January 8, 2014
                                                  UNITED STATES MAGISTRATE JUDGE
